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CIVIL RIGHTS COMPLAINT PURSUANT TO 42 U.S.C. § 1983

IN THE UNITED STATES DISTRICT COURT-.
FOR THE NORTHERN DISTRICT OF GEORGIA. i

SALEEM DWELLTAMS $4 845 TH4
(Enter above the full name and prisoner
identification number of the plaintiff GDC oO / QL VW FES cS
number if a state prisoner.) . ~

“VS -

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(see. Athachercat A )
(Enter above the full name of the defendant(s).)

foe

I. Previous Lawsuits . »: ..
A. Have you filed other lawsuits in federal court while incarcerated in any institution?

c
Yes A No( }
B. If your answer to A is yes, describe each lawsuit in the space below. (If there is
more than one lawsuit, describe the additional lawsuits on another piece of paper,
using the same outline.) ‘ .

\

1. _ Parties to this previous lawsuit: \

Plaintifi(s): 5S Al EEM D Mix 4 Oe AMS
Defendant(s): ANN E7 T DA lO BN, Warden

2. Court (name the district):

TS L_OF £0 A
VALDOSTA DIVIS CON

3. Docket Number: 132 \= CV-44-HL- Te lL

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Previous Lawsuits (Cont'd)

4,

5.

Name of judge to whom case was assigned: SLTHOMAS @ LANG STAFF

Did.the previous case involve the same facts?
yes(¥)  No(v)

Disposition (Was the case dismissed? Was it appealed? Is it still pending?):
S44 \{ vend ‘ AA

Approximate an, of filing lawsuit: APRIL 3) + AOA
Approximate date of disposition: Al Z, A

Exhaustion of Administrative Remedies

Pursuant to 28 U.S.C. § 1997e(a), no prisoner civil rights action shall be brought in federal
court until all available administrative remedies are exhausted. Exhaustion of administrative
remedies is a precondition to suit, and the prisoner plaintiff must establish that he has exhausted
the entire institutional grievance procedure in order to state a claim for relief.

A.

B.

Rev, 12/5/07

Place of Present Confinement: H AN COG K State. Pri sovi

Is there a prisoner grievance procedure in this institution?

Yes (4 No (; >

"

Did you present the facts relating to’ your complaint under the institution’s grievance

procedure? ‘
. -
Yes(VW) ss No(_ +?)
If your answer is YES: ON
1. What steps did you take and what were the results?

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rights , # Led on Gtitvovice» »-litoie. the LOW ts,

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™ thee. Ceoigia Coury tf

Hf your answer is NO, explain why not:

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TO Parties

(in item A below, place your name in the first blank and place your present address in the
second blank.) . oe

A. NameofPlintiff: Saleem Dineo Williams
BNC % $45 744

Address(es): WanceocK Stabe Prison
P.O, OX 334 SPARTA GEORGIA

(In item B below, place the full name of the defendant in the first blank, his/her official
position in the second blank, and his/her place of employment in the third blank. Do the
same for each additional defendant, if any.)

B. Defendant(s): ‘PR TAN F_K EMP “TEMOTAY C.
WARD , “ANNETITSCA TOBY, “OFFICER DXEXON™

x.

de , _ wd & '
Employedas Govenet f LA_» Coy &
of Georgia Department of Carteebions “Warden

at Haveock State Prison’, *Mailroon Officer
te. Poison ™

IV. Statement of Claim .. oe Xu

State here as briefly as possible the facts of your case. Describe how each defendant is
involved, Include also the names of other persons involved, dates, and places. Do not give ahy
legal arguments or cite any cases or statutes. If you intend to allege a number of related
claims, number and set forth each claim ina separate paragraph. (Use as much space as you
need. Attach extra sheets if necessary.) Hg ee

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TV. Statement of Claim (Cont'd)
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Court on the ~2ist of March 9.02,\,Aha!

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~Watden, Anaethia ~TaBy, MEER Ge Bi
thi  #lic, in which Geora ia We ypaAatTwies of
Relief ’

State briefly exactly what you want the Court to do for you! Make no legal arguments. Cite
n0 cases or statutes.

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Vv. Relief (Cont'd)

the acts and omissions described bedi vidlated

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Sisnature OE Ficmtit ~

STATEOF GZORGLIA
COUNTY (CITY) OF S@AR TA

t

I declare under penalty of perjury that the foregoing is trié atid correct.

EXECUTED ON 4- Q7D- o.\_
. (Date) A

Sines etd AAO

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